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                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-5609
Appeal No.: ___________________________________

            Jane Doe 1, et al.                      William Thornbury, Jr., et al.
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
The Commonwealth of Kentucky ex rel. Attorney General Daniel Cameron




         ✔ Appellant
         ‫܆‬                       ‫ ܆‬Petitioner             ‫ ܆‬Amicus Curiae               ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
✔ Check if you are lead counsel.
‫܆‬

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Matthew F. Kuhn
Attorney Name: ________________________________               Matthew F. Kuhn
                                                Signature: s/_______________________________

           Office of Kentucky Attorney General
Firm Name: ______________________________________________________________________________

                  700 Capital Avenue, Suite 118
Business Address: ________________________________________________________________________

                 Frankfort, Kentucky 40601
City/State/Zip: ____________________________________________________________________________

                               (502) 696-5300
Telephone Number (Area Code): _____________________________________________________________

                matt.kuhn@ky.gov
Email Address: ___________________________________________________________________________

Please ensure your contact information above matches your PACER contact information. If necessary, update
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                                                 CERTIFICATE OF SERVICE

  The electronic signature above certifies that all parties or their counsel of record have been electronically
  served with this document as of the date of filing.


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